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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

NINGDE AMPEREX TECHNOLOGY                        §
LIMITED,                                         §
                                                 §
               Plaintiff,                        §
                                                         Civil Action No.: 2:22-CV-232
                                                 §
v.                                               §
                                                         JURY TRIAL DEMANDED
                                                 §
ZHUHAI COSMX BATTERY CO., LTD.,                  §
                                                 §
               Defendant.

       JOINT MOTION TO APPOINT TIANLU REDMON AND VIVAN JOSH AS
                            INTERPRETERS

       Plaintiff Ningde Amperex Technology Limited (“ATL”) and Defendant Zhuhai CosMX

Battery Co., Ltd. (“CosMX”) (collectively, “the Parties”), by and through their counsel, jointly file

this motion to appoint Ms. Tianlu Redmon and Ms. Vivan Josh to serve as interpreters for the

upcoming trial.

       To reduce confusion and make efficient use of time, the interpreters will not raise

disagreements or disputes regarding their interpretation in front of the jury or with the Court.

Instead, Mss. Redmon and Josh will take turns interpreting during trial; and only one interpreter

will be interpreting for the record at any given time.

       Both Mss. Redmon and Josh are well qualified as Mandarin interpreters. Their CVs are

attached as Exhibits 1 and 2 to this Motion. The Parties agree that Mss. Redmon and Josh will not

be utilized by either side for trial witness preparation, and agree not to have ex parte

communications with Mss. Redmon and Josh regarding the substance of this case.
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DATED: January 25, 2024          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on January 25, 2024, all counsel of record for

Defendant who are deemed to have consented to electronic service are being served with a copy

of this document via email.

                                                    /s/ Michael D. Powell


                              CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for Plaintiff has met and conferred with

counsel for Defendant, and both Parties have agreed to the proposed order submitted herewith.

                                                    /s/ Michael D. Powell




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